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9
10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,           )                No.: CR 05-00555 CRB
                                         )
14         Plaintiff,                    )                PARTIES’ STIPULATION AND
                                         )                PROPOSED ORDER EXCLUDING
15         v.                            )                TIME UNDER SPEEDY TRIAL ACT
                                         )
16   RICARDO MANZO-RANGEL,               )
     ARMANDO REYES-CORNEJO, and          )
17   GABRIELA SOLIS                      )
                                         )
18         Defendant.                    )
     ____________________________________)
19
20   The parties stipulate and agree, and the Court finds and holds, as follows:
21      1. The parties initially appeared before the Honorable Charles R. Breyer on August 31, 2005.
22   The matter was continued until October 12, 2005 for status.
23      2. The government indicated that discovery was still being produced. Defense counsel stated
24   that they required additional time to receive and review discovery and to effectively prepare the
25   case. Counsel requested an exclusion of time on this basis.
26      3. In light of the foregoing facts, the failure to grant the requested exclusion would
27   unreasonably deny the defendants effective preparation of counsel as well as continuity of
28   counsel. See 18 U.S.C. § 3161(h)(8)(A), (B)(iv). The ends of justice would be served by the

     STIPULATION AND PROPOSED ORDER
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1    Court excluding the proposed time period. These ends outweigh the best interest of the public
2    and the defendant in a speedy trial. See id. § 3161(h)(8)(A).
3       4. For the reasons stated, the time period from August 31, 2005 through October 12, 2005,
4    hall be excluded from the calculation of time under the Speedy Trial Act.
5       SO STIPULATED.
6    DATED: 9/12/05                               Respectfully Submitted,
7
8
                                                  _________/s/_____________________
9                                                 SUSAN R. JERICH
                                                  Assistant United States Attorney
10
11
                                                  ________/s/_______________________
12   DATED: 9/14/05                                     ELIZABETH M. FALK
                                                  Counsel for Defendant Gabriela Solis
13
14   DATED: 9/14/05                               ________/s/________________________
                                                  GLENN K. OSAJIMA
15                                                Counsel for Defendant Armando Reyes Cornejo
16   DATED: 9/20/05                               ________/s/_________________________
                                                  MICHAEL STEPANIAN
17                                                Counsel for Defendant Ricardo Manzo-Rangel
18
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
19                                                                           S DISTRICT
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21   DATED: October 3, 2005                       __________________________________
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                                                               UNIT




                                                  HON. CHARLES R. BREYER APPRO
22
                                                                                                            R NIA




                                                  United States District Court Judge
23                                                                                              reyer
                                                               NO




                                                                                     harles R. B
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                                                                             Judge C
                                                                RT




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28   STIPULATION AND PROPOSED ORDER
     CR 05-00555 CRB                                 2
